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                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION



IN RE: GENERAL MOTORS LLC IGNITION
SWITCH LITIGATION                                                                       MDL No. 2543



                                  (SEE ATTACHED SCHEDULE)



                       CONDITIONAL TRANSFER ORDER (CTO −115)



On June 9, 2014, the Panel transferred 15 civil action(s) to the United States District Court for the
Southern District of New York for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See 26 F.Supp.3d 1390 (J.P.M.L. 2014). Since that time, 238 additional action(s)
have been transferred to the Southern District of New York. With the consent of that court, all such
actions have been assigned to the Honorable Jesse M. Furman.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Southern District of New York and assigned to
Judge Furman.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Southern District of New York for the reasons stated in the order of June 9, 2014, and, with the
consent of that court, assigned to the Honorable Jesse M. Furman.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Southern District of New York. The transmittal of this order to said Clerk shall
be stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                       FOR THE PANEL:



                                                       Jeffery N. Lüthi
                                                       Clerk of the Panel
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IN RE: GENERAL MOTORS LLC IGNITION
SWITCH LITIGATION                                                     MDL No. 2543



                 SCHEDULE CTO−115 − TAG−ALONG ACTIONS



 DIST     DIV.      C.A.NO.      CASE CAPTION


OHIO SOUTHERN

                                 Hancock b/n/f April Hollon and Tia Maynard et al v.
  OHS       3      17−00309      General Motors LLC dba General Motors Company dba
                                 General Motors
